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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA )
                         )                   No. 21-CR-731-RC
     v.                  )                   Honorable Rudolph Contreras
                         )
LAWRENCE LIGAS           )


                     MOTION TO WITHDRAW AS COUNSEL

       NOW COMES the defendant, LAWRENCE LIGAS, by and through his attorney,

Michael J. Petro, and hereby requests this Honorable Court to grant this MOTION TO

WITHDRAW AS COUNSEL. In support of this motion, defendant states as follows:

       1.      LIGAS is currently charged with numerous misdemeanor offense related

               to January 6.

       2.      LIGAS’ case is currently set for a bench trial on April 3, 2023.

       3.      On information and belief, LIGAS has a complicated medical condition

               and will be seeking to move the April 3, 2023 court date.

       4.      LIGAS would like this Honorable Court to appoint him counsel.

       5.      LIGAS was contacted regarding this Motion.

       6.      AUSA Benet was contacted regarding this Motion.

       WHEREFORE, the LIGAS prays that this Honorable Court to grant this

MOTION TO WITHDRAW AS COUNSEL

By His Attorney,


s/Michael J. Petro

Attorney for LAWRENCE LIGAS
110 North 11th Street, Suite 202
Tampa, Florida 33602
attorney@mjpetro.com
312-913-1111
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                              CERTIFICATE OF SERVICE


       I, MICHAEL J. PETRO, an attorney, state that I caused to be filed, by electronic

filing (ECF), with the Clerk of the United States District Court the foregoing Pleading.

The undersigned also certifies, as to the following parties, that in accordance with

F.R.Civ.P. 5, the foregoing pleading, along with a notice of motion if required, were

served pursuant to the district court’s ECF system on Wednesday, February 01, 2023.



By His Attorney,

s/Michael J. Petro

Attorney for LAWRENCE LIGAS
110 North 11th Street, Suite 202
Tampa, Florida 33602
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312-913-1111




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